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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

WAYNE LEBOEUF                                                      CIVIL ACTION

VERSUS                                                             NO. 16-12419

JANSSEN PHARMACEUTICALS INC., ET AL                                SECTION: L (5)


                                        JUDGMENT


          A hearing on defendants Janssen Pharmaceuticals Inc., Janssen Research &

Development LLC, Johnson & Johnson and Patriot Pharmaceuticals, LLC’s Motion to Dismiss

for Lack of Prosecution, (Rec. doc. 41), was set for this date. Pro Se Plaintiff, Wayne LeBoeuf,

failed to appear for said hearing, and the motion was granted as unopposed. Accordingly:

         IT IS ORDERED, ADJUDGED AND DECREED that there be judgment in favor of

defendants, Janssen Pharmaceuticals Inc., Janssen Research & Development LLC, Johnson &

Johnson and Patriot Pharmaceuticals, LLC, dismissing said plaintiff’s claims, with prejudice, and

costs.

         New Orleans, Louisiana, this   6th     day of September, 2017.


                                              ________________________________
                                              ELDON E. FALLON
                                              UNITED STATES DISTRICT JUDGE
